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                 IN THE UNITED STATES DISTRICT COURT FOR
                     THE MIDDLE DISTRICT OF ALABAMA
                            SOUTHERN DIVISION

ANGEL PULLUM,               )
                            )
     Plaintiff,             )
                            )
v.                          )                     Case No. 1:18-cv-750-WC
                            )
SOUTHEAST ALABAMA COMMUNITY )
ACTION PARTNERSHIP, INC.,   )
                            )
     Defendant.             )

                                        ORDER

      Upon consideration of the Joint Stipulation for Dismissal (Doc. 23) filed on April

1, 2019, it is ORDERED and ADJUDGED that this case be and is hereby DISMISSED

with prejudice, each party to bear its own costs and fees. It is further ORDERED that all

pending deadlines are terminated.

      DONE this 2nd day of April, 2019.


                                    /s/ Wallace Capel, Jr.
                                    WALLACE CAPEL, JR.
                                    CHIEF UNITED STATES MAGISTRATE JUDGE




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